              Case 1:13-cr-00219-LJO-SKO Document 10 Filed 05/22/13 Page 1 of 3
A 0 199ARev. 12/11) Chdn Sming Caditions of Rclcnnc                                                   page 1 of   3       pages



                                     UNITEDSTATESDISTRICTCOURT
                                                                for the
                                                      Eastern District of California


                  United States of America
                             v.
                                                                    1
                                                                    1
                                                                    1         Case No. 5:13-mj-00034 JLT
               MATE0 MANUEL SANTIAGO                                1
                            D e f e ~ ~ -                           )
                                     ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1)   The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. 4 14135a

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:          United States Courthouse, 2500 Tulare Street, Fresno. CA
                                                                          -
                                                                                                                          --

                                                                                       Pke
       Courtmom 10 before Magistrate Judge Gary S. Austin
                                 -    -
                                      -                                            -                                  -       -



                                                                61512013 1:30pm        -   --                     -
                                                                                                                  -

                                                                   Dure a d Time

      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.
                  Case 1:13-cr-00219-LJO-SKO Document 10 Filed 05/22/13 Page 2 of 3
SANTIAGO, Mateo Manuel
Dkt. NO. 13-0034-002

                                           ADDITIONAL CONDITIONS OF RELEASE

          U p o n finding t h a t release b y o n e o f the above m e t h o d s w i l l n o t b y itself reasonably assure the appearanceof thedefendant
a n d the safety of o t h e r persons a n d the community, i t is FURTHERORDEREDt h a t the release o f thedefendant is subject t o t h e
conditions m a r k e d below:

()        (7)       T h e defendant is placed in the custody of:

                    N a m e of person o r organization



w h o agrees (a) t o supervise the defendant in accordance witb a l l conditions o f release,
(b) t o use every e f f o r t t o assure the appearance of the defendant at a l l scheduled c o u r t proceedings, a n d (c) t o n o t i f y t h e c o u r t
i m m e d i a t e l y in the event the defendant violates a n y conditions of release o r disappears.


                    SIGNED:
                                         C U S T O D I A N OR PROXY

(X)       (8)       The defendant shall:
          (X)       (a)     maintain or actively seek employment, and provide proof thereof to the PSO, upon request.
          I. I.     [b)     maintain or commence an educntional program.
          (X)       I')      abide b, the following rrstrictiuns un his personal associations, place of abode, or travel:
                             R n i d e at a residence approved bv the PSO, and not move or be absent from this residence for more than 24 hrs.
                             without priurapprovalofPS0: travel restricted to the Eastern District olCA.unless otherwiseapproved inadvance

                               avoid all contact with the following named persons, who are considered either alleged vietims or potential witnesses:
                               unless in the presence of counsel or otherwise approved in advanee b y the PSO.
                               report on a reeular basis to the iollowine aeencv:
                               Pretrial Services and c o m ~ l vwith their rules and reeulations.
                               comply with the following curfew:
                               refrain from possessing a firearm, destruetive device, or other dangerous weapon.
                               refrain from excesshe use or alcohol, and an, use or unlanful owsession of a narcotlc drue and other controlled
                               substaneesdcfined i n 2 1 L'SC'~8UZunlessprescribcdb, alicensrd medical practitionerHowever.mrdicalmariiuana,
                               prescribed or not, may not be used.
                               undereo medical o r psvchiatric treatment andlor remain i n an institution. as follows: lncludine treatment for
                               druelalcohol dependencv, and pay for costs as approved bv the PSO.
                               submit to thesearch of vour person, property, residence. and vehicle by the Pretrial ServlcesOfficer,andany other
                               law enforcement officer under the immediate and personal supervision of the Pretrial Services Officer, without a
                               search warrant.
                               post with the court the following indicia or ownership of the above-descibed property, or the following amount or
                               percentage of the above-described money:
                               execute a bail bond with solvent sureties in the amuunt o f $
                               return tu custody each (week)day as of o'clock after being released each (week)day as o f o'clock for emplo)ment,
                               schooling, or the following limited purpose(s):
                               surrender any passport to the Clerk, Un~tedStates District Court, prior to your release from custody.
                               *in     no passport during thc pendenc) of this case.
                               submit to drug or alcuhol testine as appruved b) the Pretrial Services Officer. You shall pa, all or Dart ufthecusls
                               of the testinc senlces based upon vour abilit) to pa,, a, determined b$ the Prctrial Scrbices Officer.
                               report an) prescriptions t u the PSO within 48 hours of r r c e i ~ t .
                               report i n person to the Pretrlal Ser\ices Arencv on the first workine da, follon inc )our release from custody. or as
                               instructed by the PSO.
                               participate in the CL HFEW comooncnt of the Location Mouitorine P r w r a m and abide b, all the reauirements of
                               thc program w hich w i l l include electronic monitoring or uther locatiun terifiratiun s)stem. You shall pav all or Dart
                               of the costs of the o r o c r r m based upon yuur abitiw to pa! aq determined by the PSO. You are restricted t u vour
                               rcrldence everv dnt from 9:OU p.m to 5:00 a.m.. or as directed bv the Pretrial Services Ofllcer.




(Copier to: Defendant, US Attorney. US Marshal. Pretrial Services)
                           -
               Case 1:13-cr-00219-LJO-SKO Document 10 Filed 05/22/13 Page 3 of 3
A 0 199C (Rev. 09/08) Advice of PAlalties

                                            ADVICE OF PENALTIES AND SANCTIONS
                                                                                                             b & o f ~ a g 3e s



TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a w a m t for your arrest, a
revocation of y o u release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fme, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (ie., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a wimess, victim, or informant; retaliateor attempt to retaliate against a wimess, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, jumr, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence.
                                      to
you may be pmsecuted for failing appear 0 ; s - m d e r and additional punishment may be imposed. If you are convicted oE
       (1) an offense punishable by death, l i e imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both,
       (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both,
       (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                 Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I pmmise to obey all conditions
of release, to appear as directed, and s m d e r to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.
                                                             '     .      p,




                                                      Bakersfield,
                                                        .          CA      -   --   -
                                                                                            ctly Mdslare



                                              Directions to the United States Marshal


  -
( J ) The defendant is ORDERED released after processing.
( ) The United States marshal is ORDERED tokeep the defendant in custody until notified by the clerk or judge that the defendant
        has posted bond andlor complied with all other conditions for release. If still in custody, the defendant must be produced before
        the appmpriate judge at the time and place specified.


Date:             512212013


                                                                        Jennifer L. Thurston, U.S. Magistrate Judge
                                                                                        P r i w d m e Md title




                     DISTRIBUTION: COURT        DEFENDANT        PRETRIAL SERVICE      U.S. AlTORNEY         US. MARSHAL
